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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

                                    )
JAMES PRICE,                        )
                                    )
                  Plaintiff,        )
                                    )
      v.                            )                Civil Action No. 18-1339 (CRC)
                                    )
UNITED STATES DEPARTMENT            )
OF JUSTICE,                         )
                                    )
                  Defendants.       )
____________________________________)



                      MOTION TO MODIFY BRIEFING SCHEDULE

       Defendants, U.S. Department of Justice (“DOJ”) and National Archives and Records

Administration (“NARA”), move pursuant to Federal Rule of Civil Procedure 6(b)(1) to modify

the briefing schedule to allow Defendants additional time to file their motion for summary

judgment. The undersigned counsel has not communicated with Plaintiff due to his

incarceration. 1 In support of this Motion, Defendants state as follows:



       1.       Plaintiff filed his Complaint under the Freedom of Information Act (“FOIA”) on

November 29, 2017. ECF No. 1.

       2.       On July 14, 2020, the Court granted in part Defendants’ motion for summary



1
 The undersigned counsel confirms that she has received e-mails from Plaintiff from the
following email address: PriceJamesE@outlook.com. However, the undersigned counsel is
unable to reply to this email address as her work email account returns all messages sent to this
address as being undeliverable because it is an inmate account. The undersigned counsel has
also called on several occasions the phone number provided by Plaintiff (305) 259-2402,
however she has never been able to reach a case manager. Accordingly, the only way for the
undersigned counsel to reach Plaintiff is through the United States Postal Service.
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judgment and ordered a new briefing schedule. ECF Nos. 91 & 92.

       3.       On September 25, 2020, Defendants’ filed a motion to modify the briefing

schedule, which was granted by the Court on September 29, 2020.

       4.       On October 9, 2020, Plaintiff filed a motion to stay the case. Defendants do not

oppose Plaintiff’s motion.

       5.       Defendants’ renewed motion for summary judgment is currently due on October

21, 2020, regarding FOIA claims associated with requests submitted to the Office of Justice

Programs (“OJP”) and the Criminal Division – both DOJ components. These claims pertain to

the adequacy of OJP’s search with respect to seven FOIA requests and OJP’s redactions. This

renewed motion for summary judgment also pertains to the Criminal Division’s withholdings

pursuant to FOIA Exemption 2.

       6.       On October 21, 2020, DOJ and NARA have also been ordered to submit a motion

for summary judgment with respect to Plaintiff’s claims made pursuant to the Administrative

Procedure Act (“APA”) and the Federal Records Act (“FRA”). The undersigned counsel

requires additional time to file a motion for summary judgment as she may require a declaration

from NARA and is unclear at this point who should be the declarant.

       7.       Proceedings in this matter are currently as follows:



       Defendants’ motion for summary judgment:               October 21, 2020

       Plaintiff’s combined opposition and cross motion: November 23, 2020

       Defendants’ combined opposition and reply:             December 21, 2020

       Plaintiff’s reply to cross motion:                     January 11, 2021


                                                 2
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       8.        In light of Plaintiff’s motion to stay the case, and in order to allow the

undersigned counsel additional time to file Defendants’ motion for summary judgment with

respect to claims made pursuant to the APA and FRA, Defendants respectfully move to modify

the briefing schedule as follows:



       Defendants’ renewed motion for summary judgment (FOIA):                  October 21, 2020

       Defendants’ motion for summary judgment (APA/FRA):                       November 20, 2020

       Plaintiff’s combined opposition and cross motion:                        December 21, 2020

       Defendants’ combined opposition and reply:                               January 11, 2021

       Plaintiff’s reply to cross motion:                                       February 1, 2021



       9.        The undersigned counsel has not communicated with Plaintiff due to his

incarceration.




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       10.    In light of the foregoing, Defendants respectfully requests that the Court grant this

motion and modify the briefing schedule. A proposed order is attached.


Dated: October 19, 2020                     Respectfully submitted,

                                            MICHAEL R. SHERWIN
                                            Acting United States Attorney

                                            Daniel F. Van Horn
                                            Chief, Civil Division
                                            D.C. Bar #924092

                                            By: /s/ Kathleene Molen
                                            KATHLEENE MOLEN
                                            Assistant United States Attorney
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                                            Washington, District of Columbia 20530
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                                            Kathleene.Molen@usdoj.gov

                                            Counsel for Defendants




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                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on October 19, 2020, the foregoing was served on Plaintiff via

postage prepaid first class mail to:

               James Price
               Reg. # 98922-004
               Miami
               Federal Correctional Institution
               P.O. Box 779800
               Miami, FL 33177


                                              /s/Kathleene Molen
                                             KATHLEENE MOLEN
                                             Assistant United States Attorney




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